
PER CURIAM.
The petition for writ of certiorari reflected apparent jurisdiction in this Court. We issued the writ and have heard argument of the parties. Upon further careful consideration of the matter, the briefs and record, we have determined that the cited decisions present no direct conflict as required by Article V, Section 3(b)(3), Florida Constitution (1973). Accordingly, the writ must be and is hereby discharged, Fla.App., 297 So.2d 869.
It is so ordered.
ADKINS, C. J., OVERTON, ENGLAND and SUNDBERG, JJ., SMITH, District Court Judge, and SHOLTS, Circuit Judge, concur.
ROBERTS, J., concurs specially with an opinion.
